Case 2:23-cr-00066-ABJ Document 45 Filed 09/29/23 Page 1 of 9

                                                                   FILED




                                                                4:02 pm, 9/29/23

                                                            Margaret Botkins
                                                             Clerk of Court
Case 2:23-cr-00066-ABJ Document 45 Filed 09/29/23 Page 2 of 9
Case 2:23-cr-00066-ABJ Document 45 Filed 09/29/23 Page 3 of 9
Case 2:23-cr-00066-ABJ Document 45 Filed 09/29/23 Page 4 of 9
Case 2:23-cr-00066-ABJ Document 45 Filed 09/29/23 Page 5 of 9
Case 2:23-cr-00066-ABJ Document 45 Filed 09/29/23 Page 6 of 9
Case 2:23-cr-00066-ABJ Document 45 Filed 09/29/23 Page 7 of 9
Case 2:23-cr-00066-ABJ Document 45 Filed 09/29/23 Page 8 of 9
Case 2:23-cr-00066-ABJ Document 45 Filed 09/29/23 Page 9 of 9
